Case 2:05-CV-02044-SHI\/|-tmp Document 16 Filed 07/15/05 Page 1 of 3 Page|D 23

   

IN 'I`HE UNI'I`ED STATES DISTRICT COURT HI.ED §Y ___
FOR 'I`HE WESTERN DISTRICT OF 'I`ENNESSEE

wESTERN DMSION 05 JUL |5 PH l,: |l,
RocHELLE N. PERRY, ) mma m
) fifth U,S‘ DLSTR§CT OOlBT '
Plaintiff, ) W,U OF H=-é, is';MP‘riS
) CIVIL ACTION NO. 05-2044-Ma-P
v. )
) JURY DEMAND
CINGULAR wIRELEss, LLC, )
)
Defendant. )

 

AGREED ORDER AND STIPULATION OF
DISMISSAL WITH PREJUDICE

 

Pursuant to Federal Rule of Civil Procedure 41, upon agreement of Plaintiff Rochelle N.
Perry (“Plaintift”) and Defendant Cingula.r Wireless, LLC (“Defendant”), and for good cause
shown, it is this day ORDERED, ADIUDGED, and DECREED that all claims stated in
Plaintifi`s Complaint against Defendant shall be and are hereby dismissed with prejudice In
addition, in furtherance of this Agreed Order, Plaintiff and Defendant each agree to pay their own

respective attomeys’ fees and costs incurred in this cause.

ENTERED this lgltday of T: §§ ,2005.

JUDGE

 

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with sine so and/or ram FRCP on.J_“'_.(_m'§

Case 2:05-CV-02044-SHI\/|-tmp Document 16 Filed 07/15/05 Page 2 of 3 Page|D 24

AGREED AND APPROVED FOR ENTRY:

 

 

7936 Pfayers arrest Drive
Memphis, 'I'N 38119
(901) 761~3440

Attorneys for Plaintiff

 
   

 
 

W erly D. Crenshaw, Jr., TN
ason D. Fisher, TN BPR #020076
Waller Lansden Dortch & Davis, PLLC
511 Union Street, Suite 2700
Nashville, TN 37219

(615) 244~63 80

Attorneys for Defendant

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CV-02044 Was distributed by faX, mail, or direct printing on
July 18, 2005 to the parties listed.

ESSEE

 

W. Kerby BoWling
BOWLING & BOWLING
7936 Players Forest Dr.
1\/lemphis7 TN 38119

Waverly D. Crenshaw

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

.1 oseph M. Crout
BOWLING & BOWLING
7936 Players Forest Dr.
1\/lemphis7 TN 38119

.1 ason D. Fisher

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

Honorable Samuel Mays
US DISTRICT COURT

